Case 2:25-cv-00295-SDN Document1 Filed 06/04/25 Pagelof6é PagelD#:1

IN THE UNITED STATES DISTRICT COURT ~ an
FOR THE DISTRICT OF MAINE

(ORL. Non Calay —
S a \ XK, -mnplaint for a oe Case _
i, Ss, Civil No.

pee the full name of each plaintiff who a Hung (io be filled in by the Clerk's Office)
this complaint. If the names of all the plaintiffs

cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

Jury Trial: / (A O) No
“ychet one)

-against-

()  UnredWeler Conentna a-
2 &e Covendnert A- Nina

Ca eucmer tos ony

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

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lL The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Ory Pps j TA out
Street Address LPowite BALA 4. FC GOA

City and County vi ( WO y \_ Ww b
State and Zip Code {V\Cal
Telephone nis DLN

E-mail Address Doltoy <0 @ or@kennvaa| . Can

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1 ante Qreter (CEOvicn ;

Name

Job or Title ewe a KA, ACA

(if known)

Street Address
City and County
State and Zip Code

Telephone Number

E-mail Address
(if known)

Defendant No. 2 Coreriavent of ONY Cn

Name

Job or Title \ Ute Wwe, QA C.

(if known)
Street Address
City and County

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State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 3

Name Conreriuemnes ckok Nin CW
Job or Title WON UBER (x ic

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 4

Name Sate. od: ondh, QD

Job or Title Qyrew- in WM Nioriodye OK CO

(if known) Sat v) UNC Dohe
Street Address

peClecuy

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

II. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship

case. In a diversity of citizenship case, no defendant may be a citizen of the same State

as any plaintiff.
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What is the basis for federal court jurisdiction? (check all that apply)
OE ———

Ww Federal question mM Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.
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ANoluk Ccaveh 2s uno ei 2weX— brle$ tits
Denard Tow VV olotion€ lap Qavevewenf-
Mennow nol \wbo |e. 0 A Wie U

B. If the Basis for Jurisdiction Is Diversity of Citizenship

Li The Plaintiff(s)

a. If the plaintiff is an Ad. Noun olom \ 0 (
The plaintiff, (name, WI L# “ALM _ , is acitiZen of

the State of (name) \\ \

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

me The Defendant(s)

a. If the defe ett is, an individual

a fendant, (name) ea is a citi f
e defendant, (name Woe , is a citizen o
the State of (name) Ware YS Acre . Or isa citizen of

(foreign nationkKZe re eet

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b. If the defendant is a corporation

The defendant, (name) sis
incorporated under the laws of the State of (name)

, and has its principal place of
business in the State of (name) . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of

business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

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II. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

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IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

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I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signingtg | LH —~Y 2075
Signature of Plaintiff a

Printed Name of Plaintiff CO ppy L- Don na Caeay

